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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF LOUISIANA

WILBURT REESE AND MARKCO ODDS      *                    CIVIL ACTION
                                   *                    NO.: 2:18-cv-08336
                                   *
VERSUS                             *                    SECTION:
                                   *
                                   *                    JUDGE: ELDON E. FALLON
GREAT WEST CASUALTY COMPANY,       *
MILLER TRANSPORTATION              *                    MAGISTRATE: KAREN
SERVICES, INC., AND LEROY CALDWELL *                    WELLS ROBY
                                   *



                                         ORDER

       Considering the foregoing Unopposed Motion for Extension of Deadline filed by GREAT

WEST CASUALTY CO., MILLER TRANSPORTATION SERVICES, INC. and LEROY

CALDWELL (DEFENDANTS);

       IT IS ORDERED that the parties are granted an extension until May 14, 2019 for

Defendants to produce their experts’, Dr. Najeeb Thomas, Nancy Favaloro, and Will Carrington

Heath, reports;

                                       May
       SIGNED ON this ____ day of __________________, 2019, in New Orleans, Louisiana


                     _________________________________________
                      JUDGE, UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA
